83 F.3d 415
    NOTICE: Fourth Circuit Local Rule 36(c) states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Emory Alvin MICHAU, Plaintiff-Appellant,v.Clyde N. DAVIS, Jr., Clerk of the Supreme Court of SouthCarolina;  Warren A. Kohn, Staff Attorney, SouthCarolina Department of Social Services,Defendants-Appellees.
    No. 96-6199.
    United States Court of Appeals, Fourth Circuit.
    Submitted April 15, 1996.Decided May 3, 1996.
    
      Appeal from the United States District Court for the District of South Carolina, at Greenville.   Solomon Blatt, Jr., Senior District Judge.  (CA-95-407-6-8AK)
      Emory Alvin Michau, Appellant Pro Se.
      D.S.C.
      AFFIRMED.
      Before ERVIN and MOTZ, Circuit Judges, and CHAPMAN, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order dismissing without prejudice his 42 U.S.C. § 1983 (1988) complaint.   We have reviewed the record and the district court's opinion accepting the magistrate judge's recommendation and find no reversible error.   Accordingly, we affirm on the reasoning of the district court.   Michau v. Davis, No. CA-95-407-6-8AK (D.S.C. Jan. 12, 1996).   We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    